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                                        No. 23-1361


                    United States Court of Appeals
                               For the First Circuit

                 PUBLIC INTEREST LEGAL FOUNDATION, INC.

                                 Plaintiff – Appellee

                                            v.

                 SHENNA BELLOWS, in her official capacity as the
                    Secretary of State for the State of Maine

                                Defendant – Appellant


         On appeal from the United States District Court, District of Maine


                 REPLY BRIEF OF DEFENDANT-APPELLANT
                           SHENNA BELLOWS


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                                    Introduction

            The broad interpretation of § 8(i) of the National Voter

      Registration Act (NVRA) offered by Plaintiff-Appellee Public Interest

      Legal Foundation (PILF) is fatally flawed because it collapses a complex

      provision full of qualifying terms into what amounts to a blanket

      requirement that the States make all their voter-registration-related

      records public. PILF offers not a single example of a state record

      relating to voter registration that would be excluded from the reach of

      § 8(i) under its interpretation of the statute. Indeed, its sweeping

      interpretation would seem to leave no room for such a category of

      records. If Congress had intended to make every scrap of paper and bit

      of data relating to voter registration available for public inspection, it

      would have written a very different statute. The Court should give real

      meaning to § 8(i)’s limiting terms by interpreting them to exclude the

      record at issue here: a compilation of personal data on each of Maine’s

      over 1 million registered voters (the “Voter File”).

            Even if the Voter File is within the outermost reaches of § 8(i)’s

      scope, PILF and amici fail to demonstrate that Maine’s reasonable

      limitations on requestors’ use and publication of personal data within



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      the Voter File, contained in 21-A M.R.S. § 196-A(1)(J) (“Exception J”),

      pose any obstacle to congressional purposes in enacting § 8(i), such that

      those limitations are preempted. PILF fails to establish that Exception

      J’s limitations interfere in any planned activities involving the Voter

      File that Congress might have plausibly intended to facilitate through

      § 8(i). Indeed, the only thing PILF wishes to do but cannot do under

      Exception J is make available to the general public the personal

      information of individual Maine voters. Such publication of voter

      personal data is both unnecessary to further the NVRA’s election-

      integrity purposes and inimical to its most important purpose:

      encouraging Americans to register to vote.

            Finally, PILF fails to establish any realistic threat that Maine will

      enforce Exception J against it for using the Voter File to conduct

      evaluation or enforcement activities in other states. PILF offers an

      overbroad interpretation of Exception J that ignores legislative intent

      and that has been disavowed by both the Maine Attorney General and

      the Secretary of State (“Secretary”) to manufacture an enforcement

      threat. The Court should conclude that PILF lacks standing to bring

      such a phantom preemption claim.



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                                  Reply Argument

      I.     The district court erred in concluding that § 8 of the NVRA
             applies to the Voter File.

           A. The plain language of § 8(i) cannot be read to encompass a
              compilation of 1.1 million voters’ personal information.

             The Secretary showed in her main brief that § 8(i) is a carefully

      worded disclosure provision meant to target records that illuminate

      state conduct that resembles the organized voter-list maintenance

      activities required and regulated by the rest of § 8. Sec’y Br. at 23–31.

      Rather than enacting a blunderbuss disclosure provision targeting

      something like “all records concerning voter registration programs and

      activities,” Congress enacted a wordy provision replete with limiting

      terms, including most notably requirements that, to be subject to § 8(i),

      the records must relate to programs and activities “conducted for the

      purpose of ensuring” accuracy and currency of voter lists and that the

      records must concern “implementation” of such programs and activities.

      52 U.S.C. § 20507(i)(1). Extending § 8(i) to cover the entirety of Maine’s




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      statewide voter list—a static list of personal information concerning 1.1

      million Maine voters—reads these limiting terms out of the statute. 1

            PILF distorts the above argument into a straw-person. It

      suggests that the Secretary’s interpretation of “for the purpose of

      ensuring” cannot be correct because it would be limited to list-

      maintenance activities that have an “error rate” of zero. PILF Br. at 27.

      But that is neither what Congress wrote nor the Secretary’s

      interpretation. Under the plain text of § 8(i), activities need not in fact

      ensure, to a 100% certainty, that the voter rolls are accurate and

      current to be covered; they must simply be “for the purpose” of ensuring

      accuracy and currency. Records of governmental list-maintenance

      efforts are covered whether those efforts are well-designed or not.

            Both PILF and amicus United States further argue that the

      phrase “purpose of ensuring” does not support a distinction between




      1     Amicus Judicial Watch appears to be under the misimpression
      from the above argument that the Secretary is seeking to “withhold[]”
      part or all of the Voter File from PILF. Judicial Watch Br. at 13. To be
      clear: PILF is free under Exception J to purchase a copy of the Voter
      File at any time. See Add. at 18. The Secretary’s point is that § 8(i)
      cannot preempt the limitations on use and dissemination in Exception J
      because § 8(i) does not apply to the Voter File.


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      day-to-day ministerial activities like processing voter registration

      applications and the sort of concerted voter-list maintenance efforts

      that the Secretary of State has periodically conducted. PILF Br. at 28;

      USA Br. at 14–15; see A343 (Pl.’s Resp. to Def.’s Statement of Mat.

      Facts (“SMF”) ¶ 63). But if Congress had wished § 8(i) to cover

      activities that simply “make” the voter rolls accurate and current, it

      would have used that word. It chose a different, more specific phrase,

      “for the purpose of ensuring,” that must be given independent meaning.

            Though amicus United States suggests that Congress would have

      included even more limiting language if it had intended such a result,

      USA Br. at 15, there was no need. Use of the phrase “for the purpose of

      ensuring” in a section of the NVRA that regulates, for example, “voter

      removal programs,” 52 U.S.C. § 20507(c), and programs and activities

      relating to “confirmation of voter registration,” id. § 20507(b) is, by

      itself, enough to connect the scope of § 8(i) to the sort of concerted

      maintenance activities described elsewhere in that section.

            PILF also disputes the Secretary’s point that § 8(i) does not cover

      activities that might have the effect of ensuring accuracy and currency

      but do not have the purpose of generating those results. PILF Br. at 29.



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       Here, again, PILF is simply ignoring limiting words in § 8(i) that

       undermine its interpretation. The “purpose” requirement is not

       something that the Secretary is inferring from statutory structure or

       legislative intent; it is stated in the plain text of the statute. Any

       interpretation of § 8(i) that fails to give meaning to the requirement

       that the records concern programs and activities “for the purpose of

       ensuring” accuracy and currency, as PILF’s interpretation does, violates

       the canon against surplusage. See City of Providence v. Barr, 954 F.3d

       23, 37 (1st Cir. 2020).

            PILF argues that the Voter File is covered by § 8(i) because it is

       the “end product” of Maine’s voter list maintenance activities. PILF Br.

       at 19–23.2 PILF apparently means that, when the State conducts

       programs and activities to ensure accuracy and currency of the voter

       list, any errors discovered will ultimately result in updates to the voter




       2     In making this argument, PILF cites portions of a deposition
       transcript of Deputy Secretary of State Julie Flynn. However, PILF did
       not include in its summary judgment motion any statements of material
       fact based on Deputy Flynn’s deposition testimony. A204–211. That
       deposition testimony therefore should not be considered. See Kenney v.
       U.S. Postal Serv., 298 F. Supp. 2d 139, 144 (D. Me. 2003).


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       records contained in the Voter File. This argument, however, ignores a

       second limitation in § 8(i): the requirement that the record at issue

       relate specifically to “implementation” of the program or activity. 52

       U.S.C. § 20507(i)(1). Even if it could be said that the Voter File, in some

       attenuated way, concerns programs or activities intended to ensure

       accuracy and currency of the voter list, it does not show how those

       programs were “implement[ed].” The Voter File does not, for example,

       show voters whose registrations were cancelled, let alone the reasons

       for those cancellations. A345 (SMF ¶ 69). Nor does it indicate which

       voters have had their information altered as a result of list-

       maintenance activities. Id. (SMF ¶ 70).

            As with “for the purpose of ensuring,” PILF’s interpretation seeks

       to read “implementing” out of the statute. In PILF’s view, the Voter

       File concerns implementation of those activities merely because

       portions of the Voter File would look different if those activities had

       never taken place. But this is the sort of overbroad interpretation of

       terms like “concerning” or “relating to” that the Supreme Court has

       warned against because it allows for “infinite relations.” New York

       State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514



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       U.S. 645, 656 (1995). Every record having something to do with

       elections could be described as “concerning” voter registration in some

       attenuated way. But that does not mean § 8(i) extends to all such

       records.

            Under PILF’s interpretation, the terms “concerning” and

       “implementation” are not harmonized to give both independent

       meaning; instead, “concerning” is read so broadly that § 8(i) would have

       exactly the same meaning whether “implementation” was included in

       the statutory text or not. The Secretary’s more modest interpretation of

       “concerning,” in contrast, allows for a harmonious reading of § 8 that

       gives meaning to all its terms and phrases.

            Thus, while PILF cites in support of its position Public Interest

       Legal Foundation v. Matthews, 589 F. Supp. 3d 932 (C.D. Ill. 2022),

       which held an interpretation of § 8(i) similar to the Secretary’s to be

       “unbalanced,” PILF Br. at 23 (quoting 589 F. Supp. 3d at 940), PILF’s

       interpretation is the unbalanced one. A balanced interpretation of § 8(i)

       requires giving independent meaning to § 8(i)’s limiting terms and

       phrases, which the Secretary does and PILF does not.




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            PILF also points to § 8(i)(2), which requires states to retain and

       allow public inspection of lists of voters who were targeted for de-

       registration under the procedures set forth in § 8(d). PILF Br. 30–31.

       PILF argues that this provision undermines the Secretary’s

       interpretation because these records do not “describe or document ‘how’

       an activity was ‘put into practice.’” Id. at 31. But PILF is wrong; each

       name on that list reflects a decision by a state to target a particular

       voter for potential de-registration. Unlike the Voter File, the § 8(i)(2)

       list does show the “how” of a state’s list-maintenance programs, and

       does so in a manner that avoids disclosure of massive amounts of voter

       personal information irrelevant to the implementation of those

       programs.

            In any event, PILF’s argument proves the Secretary’s point; if the

       plain meaning of § 8(i)(1) clearly covered voter lists, there would have

       been no need for Congress to enact § 8(i)(2). It was presumably enacted

       precisely because it would not otherwise have been clear that records

       concerning implementation of programs and activities “for the purpose

       of ensuring” accuracy and currency included such lists. The existence of




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       § 8(i)(2) is thus further proof that § 8(i)(1) is not as unambiguously

       broad as PILF asserts.

            PILF further argues that the Voter File is within the scope of

       § 8(i) because it is a “compilation of voter registration applications.”

       PILF Br. at 23. But this argument is based on two false premises: one,

       that the Voter File can be fairly described as a compilation of voter

       registration applications and, two, that such applications are

       themselves within the scope of § 8(i). The Secretary showed in her main

       brief that neither premise is correct. Sec’y Br. at 32–34, 37. The Voter

       File in fact contains other information, most notably voter participation

       history, that is in no way derived from voter registration cards. 3 A340

       (SMF ¶ 51). It is a distinct record from a voter registration application

       or even a compilation of voter registration applications. 4




       3     PILF argues that the Secretary waived this point by failing to
       raise it below. PILF Br. at 33. But the Secretary is disputing the
       District Court’s characterization of the Voter File. See Add. at 29.
       Moreover, the Secretary did argue more generally that the Voter File is
       a distinct record that would not be within the scope of § 8(i) even if
       registration applications were covered. R. in Support of Mot. to Dismiss
       at 4–5 (ECF No. 60).
       4    PILF also argues that voter participation history is separately
       public under § 8(i) because, under § 8(d) and Maine regulations, a voter

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             Moreover, even if the Voter File could be described as a

       compilation of registration applications, that would still not place it

       within the scope of § 8(i). A voter registration application would only

       fall within § 8(i) if the Court accepts the notion that a registrar’s act of

       processing that application is somehow an activity “for the purpose of

       ensuring” the accuracy and currency of Maine’s voter lists. As the

       Secretary has demonstrated, Sec’y Br. at 32–34, this overbroad reading

       of § 8(i) ignores that the processing of an application does not, in any

       meaningful sense of the word, “ensure” accuracy and currency of the

       existing voter list.

             PILF relies on district court decisions from other circuits to

       support its claim. PILF Br. at 24–25. But the first of these decisions,

       Judicial Watch, Inc. v. Lamone, 399 F. Supp. 3d 425 (D. Md. 2019), was

       issued by a court that was bound by Project Vote/Voting for America v.




       who fails to respond to a § 8(d)(2) postcard can be removed if they fail to
       vote in the next two general elections. But even assuming arguendo the
       recent participation history of voters who received § 8(d)(2) postcards
       might be within the scope of § 8(i), PILF is seeking a far broader data
       set encompassing the participation history of every voter in the State of
       Maine.


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       Long (“Project Vote”), 682 F.3d 331 (4th Cir. 2012), discussed in the

       Secretary’s main brief, see Sec’y Br. at 32–35, which incorrectly held

       that voter registration applications fell within § 8(i). Moreover, Lamone

       failed to grapple with the distinction between an individual voter

       registration application and a complied list of personal data from

       multiple sources on every single voter in a jurisdiction. Treating such a

       data trove as identical to a single voter registration card ignores both

       the more attenuated relationship to voter registration activities and the

       greater potential for abuse of such a massive compilation of data.

             PILF also relies on True the Vote v. Hosemann, 43 F. Supp. 3d 693

       (S.D. Miss. 2014), for its “compilation of voter registrations” argument.

       PILF Br. at 25. But that decision’s observation that Mississippi’s “voter

       roll” was disclosable under § 8(i) because it was Mississippi’s “official

       list of eligible voters” is dicta, since the court held that the issue was

       moot since the plaintiffs already had a copy of the list. 43 F. Supp. 3d

       at 723–24. Moreover, it is dicta supported by only a single sentence of

       analysis, robbing it of any persuasive authority. Id. at 723.




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         B. The structure of § 8 supports the Secretary’s reading.

            The Secretary also demonstrated that the structure of § 8, which

       largely regulates states’ purposeful periodic list-maintenance programs,

       supports her interpretation of § 8(i) as limited to records concerning

       those programs and activities. Sec’y Br. at 38–42.

            PILF argues that there is no need for the Court to consider

       statutory structure because the text is unambiguous. PILF Br. at 35.

       The Secretary agrees. But PILF is mistaken that the text is

       unambiguous in its favor. If anything, application of the canon against

       surplusage to Congress’s complex phrasing of § 8(i) renders the

       Secretary’s interpretation the only permissible one.

            PILF also notes that the handful of courts that have interpreted

       § 8(i) have not identified any ambiguity in it. Id. But several courts

       have read restrictions into § 8(i) that are not apparent from its plain

       text. Most notably, in Public Interest Legal Foundation, Inc. v. North

       Carolina State Board of Elections (“PILF”), 996 F.3d 257 (4th Cir.

       2021), the Fourth Circuit concluded that a correct interpretation of

       § 8(i) required consideration of other federal privacy laws unconnected

       to the NVRA. Id. at 264.



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             PILF also asserts that nothing can be read into Congress’s failure

       to expressly include voter lists in § 8(i) because it would have been too

       hard for Congress to specify all of the categories of records it intended

       for inclusion within § 8(i). PILF Br. at 35–36. But this argument

       ignores that Congress did include in § 8(i)(2) a specific category of

       records with personally identifying information it wished to include in

       § 8(i)—lists of voters who were sent (d)(2) postcards.

             PILF asserts that (i)(2) “sets ‘a floor, not a ceiling’” for disclosable

       records. PILF Br. at 36 (quoting Project Vote, 682 F.3d at 337). Amicus

       United States makes a similar argument. USA Br. at 16. That

       assertion is correct, but irrelevant. The Secretary is not arguing that

       the scope of § 8(i)(1) is “limited to” the records described in § 8(i)(2).

       Rather, she is arguing is that it is far more doubtful that the text of

       § 8(i)(1) covers the entire Voter File than that it covers lists of voters

       who are the actual targets of list-maintenance programs. Yet Congress

       felt the need to clarify that the latter fell within the scope of § 8(i)(1)

       while saying nothing at all about the former. The Court should

       conclude that this disparity shows a lack of legislative intent to include

       such records.



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         C. Agency interpretation of the NVRA near the time of
            enactment supports the Secretary’s view.

             The Secretary also pointed to a guidance document issued by a

       division of the Federal Election Commission (FEC), which interpreted

       § 8(i) consistently with the Secretary’s interpretation. Sec’y Br. at 42–

       44.

             PILF and the United States argue that the guidance document

       should be given no weight because the FEC had limited responsibilities

       under the NVRA and could not issue authoritative interpretations of its

       provisions. PILF Br. at 38; USA Br. at 17. They also point to a

       disclaimer in the guidance document stating that interpretations in the

       document are “without force of law, regulation, or advisory opinion.” Id.

             While the FEC’s authority relating to the NVRA may have been

       limited, Congress specifically charged it with providing “information to

       the States with respect to the responsibilities of the States under [the

       NVRA].” 52 U.S.C. § 20508(a)(4). Implicit in this directive is a

       congressional expectation that the FEC would interpret the NVRA to

       determine what those “responsibilities” actually were. Thus,

       disclaimers about legal force notwithstanding, the FEC’s interpretation

       of the NVRA should be considered by the Court under the flexible


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       standard set forth in United States v. Mead Corp., 533 U.S. 218 (2001),

       for such informal interpretations by federal agencies.

             Indeed, there is at least one particular “source[] of weight,” id. at

       235, that warrants consideration of the guidance document: it was

       issued only months after enactment of the NVRA in 1993. Thus, while

       the guidance document is not dispositive of § 8(i)’s meaning, it is an

       important data point showing an expert federal agency’s interpretation

       of § 8(i) at the time of its passage.

          D. The lower court’s reading of § 8(i) does not further the
             NVRA’s purposes.

             Finally, the Secretary established in her main brief that her

       interpretation of § 8(i) is the only one that does not run afoul of NVRA’s

       key purpose of “mak[ing] it possible for Federal, State, and local

       governments to implement [the Act] in a manner that enhances the

       participation of eligible citizens as voters in elections for Federal office.”

       52 U.S.C. § 20501(b)(2). Exposing voters’ personal information invites,

       among other harms, potentially baseless assertions of fraud and

       criminality against ordinary voters. See, e.g., A346–47 (SMF ¶¶ 73–78).

             Amicus United States suggests that allowing public access to voter

       personal information would further the NVRA’s purpose of encouraging


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       participation in elections. USA Br. at 13. But the facts that PILF’s

       analyses produce “false positives” and that it cannot reach definitive

       conclusions undermine this notion. A349 (SMF ¶¶ 84–85).

             Moreover, it is unclear how, as the United States claims, review of

       the Voter File would help a private requestor determine if a State is

       “rejecting applicants only for legitimate reasons.” USA Br. at 13. The

       Voter File has no information on rejected applicants. 21-A M.R.S.A

       § 196-A(1)(J) (Supp. 2023).

       II.   The district court erred in concluding that the Publication
             Ban is preempted by the NVRA.

             Even if § 8(i) can be read to extend to a static compilation of

       voters’ personal information, the Secretary has demonstrated that

       Maine’s reasonable limitations on using that data for purposes inimical

       to the NVRA are not preempted. The NVRA on its face contains no

       limitations on states’ ability to reasonably limit the use of voter

       personal data by third parties. As amicus Electronic Privacy

       Information Center shows, see EPIC Br. at 11–16, states around the

       country have placed common-sense restrictions on use of that data by

       third parties. By barring private parties from publishing Mainers’

       personal data, Maine law furthers a key purpose of the NVRA—and


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       federal voting rights laws more generally—of encouraging citizens to

       register to vote and participate in the electoral process.

            PILF’s brief asserts that the Publication Ban is invalid “primarily”

       because it supposedly violates the First Amendment. PILF Br. at 46–

       47. But PILF’s amended complaint contains no First Amendment claim

       or, indeed, any mention of the First Amendment. A171–187. PILF’s

       primary argument against the Publication Ban is thus not even

       properly before this Court.

            PILF also argues that the Secretary’s showing that the

       Publication Ban furthers a key NVRA purpose is irrelevant, because,

       according to PILF, the Publication Ban conflicts with other NVRA

       purposes of “protect[ing] the integrity of the electoral process” and

       “ensur[ing] that accurate and current voter registration rolls are

       maintained.” PILF Br. at 48–49 (quoting 52 U.S.C. § 20501(b)). But

       those purposes are accomplished by the other provisions of § 8, which,

       among other things, require states to “conduct a general program that

       makes a reasonable effort to remove the names of ineligible voters from

       the official lists of eligible voters.” 52 U.S.C. § 20507(a)(4). The purpose

       of the disclosure requirement in § 8(i), as is apparent from its text and



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       statutory structure (as discussed in Part I), is to shed light on

       governments’ implementation of those “general program[s].” It was not

       intended to allow private groups to independently conduct their own

       shadow-programs of voter list maintenance.

             In any event, even if preventing private groups from obtaining

       personal data on all a State’s registered voters would clash with

       Congress’s purposes in enacting § 8(i), Exception J harmonizes Maine

       law with those purposes by allowing precisely such disclosure. The

       Publication Ban merely imposes a reasonable condition on requestors:

       that they not post voters’ personal data to the Internet (as at least one

       group has recently done with another state’s voter file, see Voter

       Reference Foundation, LLC v. Balderas, 616 F. Supp. 3d. 1132, 1166

       (D.N.M. 2022)) or otherwise make it available to the general public. As

       the record reflects, PILF can still use the data to alert state officials to

       any irregularities it identifies and in litigation to enforce the NVRA’s

       requirements. To go further, and conclude that Exception J’s restriction

       on publishing the Voter File to the Internet or otherwise must also yield

       to the NVRA’s general election-integrity purposes would give undue




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       weight to those purposes at the expense of the NVRA’s pro-registration

       purposes.

            PILF cites Oneok, Inc. v. Learjet Inc., 575 U.S. 373 (2015), for the

       proposition that, in considering obstacle preemption, the Court must

       consider the “full” objectives of Congress. PILF Br. at 50 (emphasis

       omitted). The Secretary agrees. But PILF is asking the Court to

       consider only the NVRA purposes it favors, while ignoring the NVRA’s

       pro-registration purposes, resulting in a distorted view of the NVRA

       overall. The Publication Ban furthers the NVRA’s pro-registration

       purposes without posing an obstacle to § 8(i)’s election-integrity goals,

       reasonably understood.

            PILF specifically asserts that the Publication Ban thwarts the

       latter goals in two ways relevant to its planned activities. First, it

       claims that the Publication Ban interferes with its ability to “educate

       the public and governmental officials.” PILF Br. at 47. But the

       Publication Ban in no way prevents PILF from doing so. PILF is free to

       analyze the Voter File and publish whatever conclusions it draws about

       the condition of Maine’s voter list. If it wishes, it can even support

       those conclusions with data concerning individual voters, as long as it



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       keeps those voters anonymous. The only thing it cannot do is publish

       the personal data of individual Maine voters. That such “doxxing” is

       unnecessary for public education efforts is demonstrated by the fact

       that PILF itself considers redacting such identifying data from its

       published reports. A349 (SMF ¶ 87).

            Second, PILF claims that the Publication Ban would interfere

       with its efforts to communicate with public officials about irregularities

       it might find in Maine’s voter list, because such communications might

       become public records under other states’ open-records laws. PILF Br.

       at 48. There is no such concern for any communications with Maine

       state or local officials since CVR data is exempt from Maine’s Freedom

       of Access law. See 1 M.R.S.A. § 402(3)(A) (2016); 21-A M.R.S.A. § 196-

       A(1). With regard to communications with out-of-state officials who are

       unable to protect such data from disclosure, PILF would still be free to

       identify voters to be investigated based on data obtained from the other

       jurisdiction, which Maine law does not purport to regulate.

            PILF echoes the lower court’s citation of Maine Forest Products

       Council v. Cormier, for the proposition that a state law cannot avoid

       preemption even if it is “complementary” to Congress’s goals if it also



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       involves “a conflict in method.” PILF Br. at 49 (citing Cormier, 51 F.4th

       1, 11 (1st Cir. 2022)). Cormier is distinguishable. In that case, the

       question was whether a Maine law that barred certain employers from

       hiring foreign workers to drive logging trucks was obstacle-preempted.

       Id. at 3. This Court held that law to conflict with the federal H-2A visa

       program, which it interpreted as giving employers a federal right to hire

       foreign workers under certain conditions. Id. at 10. It was in that

       context of a state law preventing the exercise of a federal right that the

       Court rejected the argument that overlapping policy goals of the two

       laws should cure the conflict.

            The Publication Ban differs because the NVRA does not, explicitly

       or implicitly, give parties inspecting records under § 8(i) an unfettered

       right to publicize the information in those records, no matter what the

       public harm. Section 8(i) merely provides that such records are subject

       to inspection and copying. And Exception J allows for inspection and

       copying. 21-A M.R.S.A. § 196-A(1)(J).

            The situation thus differs from a case like Lamone, relied upon by

       PILF, in which Maryland law barred disclosure of the state’s voter file

       to out-of-staters. 399 F. Supp. 3d at 445. Under Lamone’s fact



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       pattern—where some requestors could not do what § 8(i) (according to

       that court’s holding) gave them a right to do, id.,—Cormier might have

       more relevance. But here, where state law protects the alleged federal

       right to inspect or copy the Voter File, the Secretary’s argument that

       the Publication Ban furthers the NVRA’s key purpose is not only fair

       game under Cormier, but should prevail.

            PILF also decries as “imaginary monsters” the NVRA-related

       harms the Secretary showed will be prevented or mitigated by the

       Publication Ban, such as publicly and wrongly accusing voters of

       criminal activity. PILF’s argument is a step too far for amicus United

       States, which agrees with the Secretary that such concerns are real

       and, at least in some cases, state efforts to prevent them are beyond the

       limits of NVRA preemption. USA Br. at 29. Problems such as foreign-

       government attempts to access voter data are real. See Sec’y Br. at 51

       n.5. If a requestor can obtain the Voter File and simply post it to the

       Internet—for example to “crowd source” detection of irregularities, see

       Balderas, 616 F. Supp. 3d. at 1160—Maine will lose any ability to

       prevent malicious uses of that data.




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            PILF’s claim that these concerns are irrelevant because PILF does

       not “allege an intention to engage in these activities” elides that it is

       keeping its options open as to what it will do with the Voter File. PILF

       Br. at 51. At summary judgment it provided only a general description

       of its planned activities, with the caveat that it will “develop more

       specific plans for the Voter File after” PILF obtains it. A211 (¶¶ 5–37).

       Given the District Court’s categorical ruling that “the restrictions of

       Exception J” are preempted as applied to PILF, Add. at 18, it is fair for

       the Court to consider other possible uses of the Voter File, and not just

       those uses that PILF specifically describes in its filings. PILF’s vaguely

       described “educat[ion]” efforts do not rule out that it could publish

       reports suggesting that particular named Maine voters may have

       engaged in misconduct, as it has done in the past. 5 A346–47 (SMF ¶¶

       73–78).




       5     To be clear, the Secretary is not suggesting, as PILF insinuates,
       see PILF Br. at 51, that she would treat PILF differently from any other
       requestor under Exception J because of its prior actions to publish voter
       information. Rather, she is arguing that, in this as-applied preemption
       challenge, the Court should assume that PILF’s planned uses of the
       voter file may include publishing reports consistent with those it has
       published in the past.


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            PILF argues that other federal laws already protect against some

       of the ills that the Publication Ban was intended to address. PILF Br.

       at 52. But the existence of these statutes strongly supports the

       Secretary’s point that there is no conflict between the Publication Ban

       and federal law, particularly if this Court accepts the Fourth Circuit’s

       conclusion that § 8(i) must be interpreted in light of other provisions of

       federal law that protect privacy. See PILF, 996 F.3d at 264. While

       those federal protections are important bulwarks against some of the

       most pernicious conduct that would be facilitated by unfettered

       disclosure of the Voter File, they do not provide assurance to voters, as

       the Publication Ban does, that their personal information will not be

       published to the general public. The Publication Ban is therefore not

       duplicative of existing protections, but rather provides additional

       assurances to Maine citizens, consistent with the NVRA’s pro-

       registration purpose, that their personal information will not be

       misused by third parties if they decide to register to vote.

            PILF also attempts to rely on caselaw on “[e]xemptions from

       facially valid disclosure laws.” PILF Br. at 52. This caselaw, which

       discusses circumstances when the First Amendment may require states



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       to protect information that would otherwise be public, is entirely

       inapposite. Again, this is not a First Amendment case. The Secretary’s

       point is that the Publication Ban poses no obstacle to Congress’s

       purposes, not that the First Amendment requires such a ban.

            PILF suggests that Maine’s “concerns about privacy and

       intimidation cannot be taken seriously” because Maine also requires

       robust public disclosure of campaign contributions. PILF Br. at 55.

       That the Maine Legislature gave a different weight to privacy concerns

       in the context of campaign contributions—where few contest the need

       for robust public disclosure to avoid quid pro quo corruption and the

       appearance thereof—is neither surprising, nor a basis for concluding

       that the Legislature, when it limited use and dissemination of the Voter

       File years before the current dispute, see P.L. 2005, ch. 404, was not

       acting out of a good-faith concern for protecting voter privacy.

            PILF alleges that there is no evidence that indiscriminate

       publication of voters’ private data will deter voter registration. PILF

       Br. at 54. Courts, however, have recognized that disclosure of voter

       personal information may have effects on voter registration and

       participation. Fusaro v. Howard, 19 F.4th 357, 369 (4th Cir. 2021);



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       True the Vote, 43 F. Supp. 3d at 739. Moreover, PILF’s argument that

       the high voter registration numbers in Maine shows that there is no

       reason to fear such a deterrent effect makes little sense. Maine has

       strictly protected the voter data in its CVR system since CVR’s

       inception, allowing its use only for narrow purposes. See P.L. 2005, ch.

       404. Until now, Maine voters have always had assurance that their

       personal data maintained in the CVR system would be protected.

            Finally, amicus United States, while agreeing with the Secretary

       that states may properly impose some limitations on the use and

       disclosure of voter personal information without posing an obstacle to

       congressional intent, USA Br. at 27–30, nevertheless argues that the

       Publication Ban, as interpreted by the lower court, is “partially”

       preempted. Id. at 27. But the hypothetical suggested by the United

       States in which it claims the Publication Ban would be preempted—

       creation of a website to allow voters to determine if the state has

       marked them “inactive,” id. at 26—is not the sort of activity at issue in

       this case. 6 See A211 (¶¶ 5–37). PILF was clear in briefing below that it




       6    The United States also suggests that Exception J may outlaw
       using Voter File data for voter registration activities. USA Br. at 20,

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       asserted only an as-applied challenge to the statute. See Add. at 11

       n.16 (concluding PILF waived any facial challenge to Exception J). The

       United States fails to adequately explain why alleged preemption of the

       Publication Ban should extend specifically to PILF’s proposed and likely

       activities.

       III.   The district court erred by granting relief relating to
              Exception J’s other restrictions on use of the Voter File.

              The Secretary demonstrated that the District Court incorrectly

       accepted PILF’s maximalist interpretation of the remainder of

       Exception J’s restrictions. Sec’y Br. at 57–64. Because Exception J is

       narrower than PILF contends and because, in any event, the Secretary

       and the Attorney General have disclaimed any intent to enforce these

       aspects of Exception J in the manner PILF claims to fear, the Court

       should conclude PILF lacks standing to pursue this aspect of its claim.




       26. But state law allows use of the Voter File by “[a] political party, or
       an individual or organization engaged in so-called ‘get out the vote’
       efforts directly related to a campaign.” 21-A M.R.S.A. § 196-A(1)(B).
       The Secretary interprets “get out the vote” efforts to encompass
       encouraging or assisting with voter registration. And, again, there is no
       indication in the record that PILF wishes to engage in those activities.


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            PILF continues to press its overbroad reading of Exception J’s

       remaining restrictions, contending that Exception J bars it from using

       the Voter File for analysis or enforcement in other states.7 PILF Br. at

       56. PILF focuses on Exception J’s use of the phrase “the State’s

       compliance” as opposed to “a state’s compliance,” arguing that this

       language does not permit cross-state activities of any sort that make

       use of the Voter File. Id.

            The statute’s language could be clearer on this point. But the flaw

       with PILF’s interpretation, like the district court’s, is that it reads the

       statutory language in a vacuum, without adequately considering

       legislative purpose. In Maine courts, “the goal of statutory

       interpretation is to give effect to the Legislature’s intent.” Manirakiza

       v. Dep’t of Health & Hum. Servs., 2018 ME 10, ¶ 8, 177 A.3d 1264. It is

       not plausible that the Maine Legislature, in creating a statutory

       exception to confidentially that specifically mentions the NVRA—a

       federal statute that applies nationally—had an intent to restrict a




       7     PILF appears to have dropped its argument, rejected by the lower
       court, that Exception J also forbids in-state enforcement actions using
       the Voter File. See Add. 13 n.18.


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       requestor’s activities involving the Voter File to Maine. There would be

       no point to such a restriction. It would not further Exception J’s core

       purpose of preventing exploitative or other harmful uses of the data.

       Thus, to take into account that legislative purpose, the Court should

       interpret “the State’s” to refer to the “target” state of the requestor’s

       evaluation or enforcement activities, whether that be Maine or some

       other state. Or, alternatively, it should understand cross-state

       activities as furthering purposes “directly related” to evaluating Maine’s

       list. See Sec’y Br. at 61.

             PILF also argues that the Court should disregard the unequivocal

       sworn statements of the Deputy Secretary of State in charge of

       administering Exception J—made with the review and approval of the

       Secretary herself—as well as the statements of the Attorney General in

       briefing to the lower court and this Court that neither Office plans to

       enforce Exception J in the manner PILF claims to fear. PILF Br. at 60.

       Citing no caselaw, PILF argues that these assurances should be

       rejected because the sworn statement did not come directly from the

       Secretary herself and the Attorney General’s statement was in briefing

       and thus not sworn. PILF Br. at 60. But as the Secretary pointed out,



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       this Court has accepted assurances in similar form in the past. See

       Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 66 (1st Cir. 2011). On a

       more practical level, the notion that the Secretary, after approving the

       interpretation offered here, would ask the Attorney General to take

       enforcement action contrary to that interpretation, and that the

       Attorney General, having made multiple representations to the federal

       courts to the contrary, would adopt that flawed interpretation to

       prosecute PILF for engaging in cross-state list analysis is completely

       implausible.

            Because PILF is not at “substantial risk” of prosecution for cross-

       state use of the Voter File, see Susan B. Anthony List v. Driehaus, 573

       U.S. 149, 158 (2014), the Court should conclude PILF lacks standing to

       challenge this aspect of Exception J.

            The United States, for its part, suggests that questions concerning

       the proper interpretation of Exception J should be certified to the Maine

       Supreme Judicial Court. USA Br. at 18–21. While the Secretary does

       not dispute that the statute is ambiguous regarding cross-state

       activities, the Secretary’s reasonable interpretation of an ambiguous

       statute is entitled to deference in Maine courts. See Arsenault v. Sec’y



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       of State, 2006 ME 111, ¶ 11, 905 A.2d 285. The United States agrees

       that the Secretary’s interpretation of Exception J is “plausible.” USA

       Br. at 19. Certification is therefore unnecessary given the likelihood

       that the Maine Supreme Judicial Court would defer to the Secretary’s

       interpretation. However, should this Court disagree, the Secretary

       would not object to certification as proposed by the United States.




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                                        Conclusion

            For the foregoing reasons, the order of the District Court granting

       summary judgment to PILF should be reversed and the case remanded

       with instructions to enter summary judgment for the Secretary.

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